
		
				ARCE v. STATE2023 OK CR 8Case Number: F-2021-1212Decided: 05/11/2023JASON ENRIQUE ARCE, Appellant v. THE STATE OF OKLAHOMA, Appellee
Cite as: 2023 OK CR 8, __  __

				

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ORDER TO PUBLISH SUMMARY OPINION


¶1 On April 20, 2023, an opinion was handed down in the above-styled proceeding, Arce v. State, F-2021-1212 (April 20, 2023)(unpublished). The opinion addresses in part the law regarding jury instructions on lesser included offenses. After further consideration, we have determined the opinion should be published. The opinion to be published is attached to this order.

¶2 IT IS THEREFORE THE ORDER OF THIS COURT that the Summary Opinion issued on April 20, 2023, is hereby AUTHORIZED FOR PUBLICATION. 

¶3 IT IS SO ORDERED.

¶4 WITNESS OUR HANDS AND THE SEAL OF THIS COURT this 11th day of May, 2023.


/S/SCOTT ROWLAND, Presiding Judge



/S/ROBERT L. HUDSON, Vice Presiding Judge



/S/GARY L. LUMPKIN, Judge



/S/DAVID B. LEWIS, Judge



/S/WILLIAM J. MUSSEMAN, Judge


ATTEST:

/s/John D. Hadden
Clerk


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